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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA



ALL COUNSEL:

        RE: C.A. 21-2157 AHRENDSEN, et al v. PRUDENT FIDUCIARY SERVICES, LLC,
et al

                            IMPORTANT NOTICE TO COUNSEL

      Please be advised that, pursuant to Rule 16 of the Federal Rules of
Civil Procedure, a Status Conference in the above-captioned case will be held
on September 30, 2021   at 10:30.m. before The Honorable Harvey Bartle III
via Telephone Conference. Call-in information will be circulated by
chambers.


      Attached is a Case Status Report form which you are to complete and
forward to the Court at least three (3) business days prior to the
conference. Email this form to Kristin_R_Makely@paed.uscourts.gov. Please do
not have this form docketed.


      Counsel responsible for the case are expected to attend the conference.
All participants in this conference shall have full authority and are
expected to be prepared to discuss the following:

        (a)    jurisdictional defects, if any;
        (b)    the possibility of an amicable settlement;
        (c)    alternative dispute resolution;
               (d)   time limitations within which additional parties may be
                     joined and pleadings may be amended, if necessary;
        (e)    scheduling for remaining pretrial proceedings including discovery
                     deadlines, filing of motions, hearings, and future pretrial
                     conferences if deemed necessary;
        (f)    scheduling a date for trial; and
        (g)    any other appropriate matters which would facilitate the
                     disposition of the case.

        A Scheduling Order will be entered as a result of this conference.

           Prior to attending the conference, participants are expected
to have conferred with each other about each of the above-listed items.
Plaintiff's counsel shall initiate the discussions, including discussion
of settlement.

                                DISCOVERY DISPUTES

      When a discovery dispute arises, counsel are strongly urged to
settle it among themselves. However, if after making a good faith effort,
counsel are unable to resolve a disputed issue, counsel for the aggrieved
party shall file with the Court a motion in conformity with Local Civil
Rule 26.1(b), with a form of order, and short brief not to exceed five (5)
pages describing the disputed issue(s). In situations covered by Local
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Civil Rule 26.1(g) no brief shall be required. All motions must contain
the certification required under Local Civil Rule 26.1(f). No extensions
of time will be granted except by leave of Court for good cause shown.

      In most cases, the Court will schedule a conference with counsel
either by telephone or in Chambers within a few days after the filing of
the motion.


                             MOTION PRACTICE
                          (other than discovery)

      Except as set forth herein, motion practice will be conducted in
accordance with Local Civil Rule 7.1.

      The originals of all motions and briefs shall be filed with the
Clerk. A copy of same shall be delivered to Judge Bartle's chambers.

      A reply brief, addressing arguments raised in the brief in
opposition to the motion, may be filed and served by the moving party
within seven (7) days after service of the brief in opposition to the
motion. However, the Court will not necessarily delay its decision while
awaiting a reply brief.

      No further briefs may be filed, and no extension of time will be
granted without leave of Court for good cause shown.

      Except with leave of Court for good cause shown, no supporting brief
and no brief in opposition shall exceed twenty-five (25) pages and no
reply brief shall exceed fifteen (15) pages. Every factual assertion in a
brief shall be supported by a citation to the record where that fact may
be found. Both legal citations and citations to the record shall include
pinpoint cites.

                                   /s/ Kristin R. Makely
                             ____________________________
                             Kristin R. Makely
                             Deputy Clerk to Judge Bartle
                             (267) 299-7389


DATED: 9/14/2021

Attachment
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Email to: Kristin_R_Makely@paed.uscourts.gov

                           CASE STATUS REPORT
Civil Action No.: __________                 Jury (__)        Non-Jury
(__)
Caption of Case: ______________________________________________

Date Service of Process Made:     _________________________________

Name of Trial Counsel:     ________________________________________

Representing:    _________________________________________________

Law Firm:   _____________________________________________________

Address:    ______________________________________________________

Telephone No.:   (     )

 1.    This case has been/should be consolidated with Civil Action No.(s):
       __________________________________________________

 2.    If this case should be consolidated with another civil action, state
       the reason why it should be consolidated.
       ___________________________________________________________

 3.    By what date can discovery be completed?     _________________

 4.    Do you anticipate using any expert witnesses?     ____________

 5.   By what date will this case be ready for trial?    __________

 6.    What is the total time necessary to present your case?
       ___________________________________________________________

 7.    What portion of this is liability?   _____    Damages?   ______

 8.    What is your estimate of the total time required for the entire trial?
       ____________________________________________

 9.    Would an early settlement conference be helpful in effecting a
       settlement of this case? Yes (___)        No (___)

10.    If the answer is "yes," when would be the most appropriate time for
       such a conference? _______________________________

11.   Do you have any special comment to make or special issue or problem to
      raise concerning the case? If so, please use the reverse side.
-----------------------------------------------------------------
12. THE FOLLOWING CERTIFICATION MUST BE EXECUTED BY COUNSEL:

       I HEREBY CERTIFY THAT PRIOR TO SUBMITTING THIS FORM I SPOKE WITH
       COUNSEL FOR ALL OTHER PARTIES AND CAREFULLY EXPLORED SETTLEMENT OF THIS
       ACTION.

____________________________            ____________________
  Counsel for                                     Date
